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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES           *
                        *
    v.                  *    Case No. 21-cr-00160-TJK
                        *
RYAN ASHLOCK            *
                        *
*   *   *   *   *   *   *    *    *     *     *    *                         *
       UNOPPOSED MOTION TO TEMPORARILY MODIFY
                CONDITIONS OF RELEASE

       COMES NOW the Defendant, Ryan Ashlock, by and through his attorneys,

Michael E. Lawlor, and Brennan, McKenna & Lawlor, Chtd., and respectfully

requests that this Honorable Court temporarily modify the conditions of release in

this case. In support of this motion, counsel states the following.

       1.     Mr. Ashlock made his initial appearance before this Court and was

released on pre-trial conditions on February 26, 2021. Specifically, this Court

ordered that Mr. Ashlock be placed on personal recognizance with home detention

and location monitoring.

       2.     Since that time, Mr. Ashlock has complied with all conditions of his

pre-trial release.

       3.     At this time, Mr. Ashlock respectfully asks this Court to temporarily

modify his conditions of release such that he be permitted to leave his home for the

upcoming Thanksgiving Holiday. Specifically, Mr. Ashlock asks that this Court
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permit him to be released from home detention and electronic monitoring, for the

period of Wednesday, November 24, 2021 through Sunday, November 28, 2021.

      4.     Undersigned counsel contacted Assistant United States Attorney

Christopher Veatch about the instant request. At this time undersigned counsel is

authorized to state that the United States consents to this request.

      5.     Additionally, undersigned counsel contacted Officer Diana Kerns from

Pretrial Services seeking her position on this motion. Undersigned counsel has not

heard back from Officer Kerns at this time. Should counsel receive a response from

Officer Kerns, the undersigned will file a supplement to this motion.

      6.     For these reasons, Mr. Ashlock respectfully asks this Court to

temporarily modify his conditions of release such that he be permitted leave his

home as detailed above.


                                        Respectfully submitted,

                                              /s/
                                        ______________________
                                        Michael E. Lawlor
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, November 23, 2021, a copy of the foregoing

was sent via ECF to the United States Attorney’s Office for the District of Columbia.


                                                         /s/
                                                    ______________________
                                                    Michael E. Lawlor




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